
RAPIDES PARISH POLICE JURY,
v.
CATAHOULA BOYS HUNTING AND SOCIAL CLUB, INC.
No. 10 01248-CA, Consolidated with 10 01,247-CA, Consolidated with 10 01,249-CA.
Court of Appeals of Louisiana, Third Circuit.
May 18, 2011.
Richard E. Lee, 810 Main St.Pineville LA 71360, Attorney at Law.
Thomas Overton Wells, Counsel for the Appellant.
Joseph J. Bailey, Counsel for the Appellant.
Jeremy C. Cedars, Counsel for the Appellant.
BEFORE: Ulysses Gene Thibodeaux, Sylvia R. Cooks and Elizabeth A. Pickett, Judges.
NOT DESIGNATED FOR PUBLICATION
As counsel of record in the captioned case, you are hereby notified that the application for rehearing filed by Catahoula Boys Hunting and Social Club, Inc., et al has this day been
DENIED.
